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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              CR 16-4743 JCH

MICHAEL A DAILEY,

               Defendant.



           ORDER REVOKING RELEASE PENDING REVOCATION HEARING

       THIS MATTER is before the Court for hearing, the Court having found that the Defendant

violated his conditions of release, and the Court being fully advised in the premises;

       IT IS THEREFORE ORDERED that the conditions of release previously imposed are

hereby REVOKED; and that the Defendant MICHAEL A DAILEY, be remanded to the custody

of the U.S. Marshal pending his final revocation hearing in this matter.




                                                  ____________________________________
                                                  Laura Fashing, U.S. Magistrate Judge
